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                 Exhibit 2
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                                 Marc F. Stern, MD, MPH
    Assistant Affiliate Professor, School of Public Health, University of Washington
      Clinical Associate Professor, School of Public Health, University of Albany
                         Consultant in Correctional Health Care
                            Olympia, Washington 98501, USA


   I, Marc Stern, MD, suffering from no disability which would disqualify me from
   swearing an oath, under penalty of perjury, hereby affirm:

   1.      I am a physician, board-specialized in internal medicine, specializing in
   correctional health care. On a regular basis, I investigate, evaluate, and monitor the
   adequacy of health care delivery systems in correctional institutions on behalf of a variety
   of parties including federal courts. My prior experience includes working with state
   departments of corrections and county jails, the Office of Civil Rights and Civil Liberties
   of the U.S. Department of Homeland Security, and the Special Litigation Section of the
   Civil Rights Division of the U.S. Department of Justice. Through 2013, I taught the
   National Commission on Correctional Health Care’s (NCCHC) correctional health care
   standards semi-annually to correctional health care administrators at NCCHC’s national
   conferences. I authored a week-long curriculum commissioned by the National Institute
   of Corrections of the U.S. Department of Justice to train jail and prison wardens and
   health care administrators in the principles and practice of operating safe and effective
   correctional health care operations, and served as the principal instructor for this course. I
   have been qualified as an expert in several jurisdictions on correctional health care
   systems and conditions of confinement, including the US District Court for the District of
   Arizona, where I currently serve as the lead court monitor in Jensen vs. Thornell.
   Attached is a copy of my curriculum vitae.

   2. I have been asked by Mr. Harold Hirshman, attorney for Plaintiffs, to opine on the use
   of staffing levels or ratios to establish whether care delivered in a correctional setting
   meets minimal constitutional requirements.

   3. I have reviewed Defendants’ memo of May 19, 2025 (Doc. 1934).

   4. The adequacy of staffing (e.g., by describing staffing ratios) cannot be determined
   without taking into account the specific context in which the staff operate. Important
   contextual factors must be looked at. These factors include, but are not limited to: patient
   severity of illness, comorbid mental health problems, and patient ability to understand
   and participate in their own care; physical plant (e.g., amount of usable clinic space in
   which the staff can see patients efficiently); operational factors (e.g., how much “usable”
   time there is during the day for staff to see patients, which can be impacted by times of
   the day when resident movement is restricted or the need to separate certain residents
   from others; and adequacy of custody staffing responsible for escorting patients to and
   from health care appointments.
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   5. Comparison of staffing ratios from one state to another is meaningless without an
   analysis of (a) the quality of care in the comparison states and (b) the factors described
   above. California, for example, ranks higher than Illinois in Defendants’ table of staffing
   ratios, yet is currently under court receivership due to unconstitutional levels of health
   care.

   6. Even after making the necessary adjustments to staffing levels that I describe in
   paragraphs 4 and 5 above, staffing levels (i.e., the raw number of bodies), by themselves,
   are not dispositive of constitutionally adequate care. Many other factors, related and
   unrelated to staff, must be examined. Examples of factors related to staff include: staff
   experience (e.g., does the entity hire nurses directly from nursing school, or nurses with
   work experience?); licensure level (filling a nurse position with a licensed practical nurse
   (LPN), a license generally requiring 18 months of post-high school training, is not the
   same as filling the position with a registered nurse, a license generally requiring a
   bachelor’s degree); degree of training (e.g., are primary care physicians trained in
   primary care specialties such as internal medicine or family medicine, and are they board
   certified in these specialties?); staff supervision; and the extent to which staff are
   permanent employees or are temporary employees who either work intermittently or on
   short contracts of several weeks and therefore are less familiar with policies and
   procedures.

   7. I offer these opinions with a reasonable degree of medical certainty.




   May 22, 2025
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                                        MARC F. STERN, M.D., M.P.H., F.A.C.P.
                                                                                                                   April, 2025

                                                                                                         marcstern@live.com
                                                                                                          +1 (360) 701–6520

                                             SUMMARY OF EXPERIENCE

CORRECTIONAL HEALTH CARE CONSULTANT                                                                        2009 – PRESENT
Consultant in the design, management, and operation of health services in a correctional setting to assist in evaluating,
monitoring, or providing evidence-based, cost-effective care consistent with constitutional mandates of quality.
Current activities include:
• Member, Committee on Advancing the Field of Forensic Pathology: Lessons Learned from Death in Custody
    Investigations. National Academies of Sciences, Engineering, and Medicine (2024 – )
•    Court-appointed expert to assist the Court in crafting of, and lead monitor for monitoring of, Injunctive Order, US
     District Court for the District of Arizona, in the matter of Jensen v. Thornell (2022 – )
•    Member, working group creating an open-source model Request for Proposal for use by correctional facilities
     soliciting bids from health care vendors to provide health care to residents, the goal of which is resultant contracts
     that improve patient safety and quality of health care (2022 - )
•    Co-Chair, Re-Entry Workgroup commissioned by Washington State Legislature pursuant to Bill SB5304,
     Washington State Health Care Authority (Medicaid Agency) (2021 - )
•    Senior Medical Advisor, National Sheriffs Association (2020 - )
•    Medical Director and Member, Board of Directors, American Jail Association (2022 - )
•    Medical Advisor, Washington Association of Sheriffs and Police Chiefs, and to various jails in Washington State on
     patient safety, health systems, and related health care and custody staff activities and operations, and RFP and
     contract generation (2014 - )
•    Consultant to the US Department of Justice, Civil Rights Division, Special Litigation Section. Providing investigative
     support and expert medical services pursuant to complaints regarding care delivered in any US jail, prison, or
     detention facility. (2010 - ) (no current open cases)
•    Physician prescriber/trainer for administration of naloxone by law enforcement officers for the Olympia, Tumwater,
     Lacey, Yelm, and Evergreen College Police Departments (2017 - )
•    Member, Training and Technical Assistance team of the University of Washington, providing consultation to
     Washington State Health Care Authority and individual jails to implement Medication for Opioid Use Disorder
     treatment programs under state-legislated funding (2022 - )


Previous activities include:
• Consultant to Broward County Sheriff to help develop and evaluate responses to a request for proposals (2017 –
    2018; 2023 - 2024)
•    Member, Jail Standards Task Force commissioned by the Washington State Legislature pursuant to Bill SB5902
     (2022 - 2024)
•    Member, Expert Advisory Committee for development of national guidelines for jails on management of substance
     use withdrawal, National Commission on Correctional Health Care & American Society for Addiction Medicine,
     under COSSAP grant of U.S. Bureau of Justice Assistance (2021 - 2024 )
•    Project Director, COVID-19 Vaccination Acceptance Project for Correctional Populations (2020 - 2021)
•    Biden-Harris campaign Health Policy Committee volunteer (2020)
•    Federal Rule 706 Court-Appointed Expert to the Court, US District Court for the District of Arizona, in the matter of
     Parsons v. Ryan (2018-2019)
•    Consultant to Human Rights Watch to evaluate medical care of immigrants in Homeland Security detention (2016 -
     2018)
•    Consultant to the Civil Rights Enforcement Section, Office of the Attorney General of California, under SB 29, to
     review the healthcare-related conditions of confinement of detainees confined by Immigration and Customs
     Enforcement in California facilities (2017 - 2019)
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•    Member of monitoring team (medical expert) pursuant to Consent Agreement between US Department of Justice and
     Miami-Dade County (Unites States of America v. Miami-Dade County, et al.) regarding unconstitutional medical
     care. (2013 - 2016)
•    Jointly appointed Consultant to the parties in Flynn v. Walker (formerly Flynn v. Doyle), a class action lawsuit
     before the US Federal District Court (Eastern District of Wisconsin) regarding Eighth Amendment violations of the
     health care provided to women at the Taycheedah Correctional Institute. Responsible for monitoring compliance with
     the medical component of the settlement. (2010 - 2015)
•    Consultant on “Drug-related Death after Prison Release,” a research grant continuing work with Dr. Ingrid
     Binswanger, University of Colorado, Denver, examining the causes of, and methods of reducing deaths after release
     from prison to the community. National Institutes of Health Grant R21 DA031041-01. (2011 - 2016)
•    Consultant to the US Department of Homeland Security, Office for Civil Rights and Civil Liberties. Providing
     investigative support and expert medical services pursuant to concerns about patient safety and deaths among
     immigration detainees in the custody of U.S. Immigration and Customs Enforcement. (2009 - 2014)
•    Special Master for the US Federal District Court (District of Idaho) in Balla v Idaho State Board of Correction, et al.,
     a class action lawsuit alleging Eighth Amendment violations in provision of health care at the Idaho State
     Correctional Institution. (2011 - 2012)
•    Facilitator/Consultant to the US Department of Justice, Office of Justice Programs, Bureau of Justice Statistics,
     providing assistance and input for the development of the first National Survey of Prisoner Health. (2010-2011 )
•    Project lead and primary author of National Institute of Corrections’ project entitled “Correctional Health Care
     Executive Curriculum Development,” in collaboration with National Commission on Correctional Health Care. NIC
     commissioned this curriculum for its use to train executive leaders from jails and prisons across the nation to better
     manage the health care missions of their facilities. Cooperative Agreement 11AD11GK18, US Department of Justice,
     National Institute of Corrections. (2011 - 2015 )
•    Co-teacher, with Jaye Anno, Ph.D., for the National Commission on Correctional Health Care, of the Commission’s
     standing course, An In-Depth Look at NCCHC’s 2008 Standards for Health Services in Prisons and Jails taught at its
     national meetings. (2010 - 2013)
•    Contributor to 2014 Editions of Standards for Health Services in Jails and Standards for Health Services in Prisons,
     National Commission on Correctional Health Care. (2013)
•    Consultant to the California Department of Corrections and Rehabilitation court-appointed Receiver for medical
     operations. Projects included:
         o Assessing the Receiver’s progress in completing its goal of bringing medical care delivered in the
              Department to a constitutionally mandated level. (2009)
         o Providing physician leadership to the Telemedicine Program Manager tasked with improving and expanding
              the statewide use of telemedicine. (2009)
•    Conceived, co-designed, led, and instructed in American College of Correctional Physicians and National
     Commission on Correctional Health Care’s Medical Directors Boot Camp (now called Leadership Institute), a
     national training program for new (Track “101”) and more experienced (Track “201”) prison and jail medical
     directors. (2009 - 2012)
•    Participated as a member of a nine-person Delphi expert consensus panel convened by Rand Corporation to create a
     set of correctional health care quality standards. (2009)
•    Convened a coalition of jails, Federally Qualified Health Centers, and community mental health centers in ten
     counties in Washington State to apply for a federal grant to create an electronic network among the participants that
     will share prescription information for the correctional population as they move among these three venues. (2009 -
     2010)
•    Participated as a clinical expert in comprehensive assessment of Michigan Department of Corrections as part of a
     team from the National Commission on Correctional Health Care. (2007)
•    Provided consultation to Correctional Medical Services, Inc., St. Louis (now Corizon), on issues related to
     development of an electronic health record. (2001)
•    Reviewed cases of possible professional misconduct for the Office of Professional Medical Conduct of the New York
     State Department of Health. (1999 – 2001)
•    Advised Deputy Commissioner, Indiana State Board of Health, on developing plan to reduce morbidity from chronic
     diseases using available databases. (1992)
•    Provided consultation to Division of General Medicine, University of Nevada at Reno, to help develop a new clinical
     practice site combining a faculty practice and a supervised resident clinic. (1991)
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OLYMPIA FREE CLINIC, OLYMPIA, WASHINGTON                                                                  2017 - PRESENT
Volunteer practitioner providing episodic care at a neighborhood clinic which provides free care to individuals without
health insurance until they can find a permanent medical home

OLYMPIA BUPRENORPHINE CLINIC, OLYMPIA, WASHINGTON                                                                2019 - 2021
Volunteer practitioner at a low-barrier clinic to providing Medication Assisted Treatment (buprenorphine) to opioid
dependent individuals wishing to begin treatment, until they can transition to a long-term treatment provider

OLYMPIA UNION GOSPEL MISSION CLINIC, OLYMPIA, WASHINGTON                                                         2009 – 2014
Volunteer practitioner providing primary care at a neighborhood clinic which provides free care to individuals without
health insurance until they can find a permanent medical home; my own patient panel within the practice focuses on
individuals recently released jail and prison.

WASHINGTON STATE DEPARTMENT OF CORRECTIONS                                                                       2002 – 2008
Assistant Secretary for Health Services/Health Services Director, 2005 – 2008
Associate Deputy Secretary for Health Care, 2002 – 2005
Responsible for the medical, mental health, chemical dependency (transiently), and dental care of 15,000 offenders in
total confinement. Oversaw an annual operating budget of $110 million and 700 health care staff.
•    As the first incumbent ever in this position, ushered the health services division from an operation of 12 staff in
     headquarters, providing only consultative services to the Department, to an operation with direct authority and
     responsibility for all departmental health care staff and budget. As part of new organizational structure, created and
     filled statewide positions of Directors of Nursing, Medicine, Dental, Behavioral Health, Mental Health, Psychiatry,
     Pharmacy, Operations, and Utilization Management.
•    Significantly changed the culture of the practice of correctional health care and the morale of staff by a variety of
     structural and functional changes, including: ensuring that high ethical standards and excellence in clinical practice
     were of primordial importance during hiring of professional and supervisory staff; supporting disciplining or career
     counseling of existing staff where appropriate; implementing an organizational structure such that patient care
     decisions were under the final direct authority of a clinician and were designed to ensure that patient needs were met,
     while respecting and operating within the confines of a custodial system.
•    Improved quality of care by centralizing and standardizing health care operations, including: authoring a new
     Offender Health Plan defining patient benefits based on the Eighth Amendment, case law, and evidence-based
     medicine; implementing a novel system of utilization management in medical, dental, and mental health, using the
     medical staffs as real-time peer reviewers; developing a pharmacy procedures manual and creating a Pharmacy and
     Therapeutics Committee; achieving initial American Correctional Association accreditation for 13 facilities (all with
     almost perfect scores on first audit); migrating the eight individual pharmacy databases to a single central database.
•    Blunted the growth in health care spending without compromising quality of care by a number of interventions,
     including: better coordination and centralization of contracting with external vendors, including new statewide
     contracts for hospitalization, laboratory, drug purchasing, radiology, physician recruitment, and agency nursing;
     implementing a statewide formulary; issuing quarterly operational reports at the state and facility levels.
•    Piloted the following projects: direct issuance of over-the-counter medications on demand through inmates stores
     (commissary), obviating the need for a practitioner visit and prescription; computerized practitioner order entry
     (CPOE); pill splitting; ER telemedicine.
•    Oversaw the health services team that participated variously in pre-design, design, or build phases of five capital
     projects to build complete new health units.


NEW YORK STATE DEPARTMENT OF CORRECTIONAL SERVICES                                                               2001 – 2002
Regional Medical Director, Northeast Region, 2001 – 2002
Responsible for clinical oversight of medical services for 14,000 offenders in 14 prisons, including one (already) under
court monitoring.
•    Oversaw contract with vendor to manage 60-bed regional infirmary and hospice.
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•    Coordinated activities among the Regional Medical Unit outpatient clinic, the Albany Medical College, and the 13
     feeder prisons to provide most of the specialty care for the region.
•    Worked with contracting specialists and Emergency Departments to improve access and decrease medical out-trips
     by increasing the proportion of scheduled and emergency services provided by telemedicine.
•    Provided training, advice, and counseling to practitioners and facility health administrators in the region to improve
     the quality of care delivered.


CORRECTIONAL MEDICAL SERVICES, INC. (now YesCare)                                                               2000 – 2001
Regional Medical Director, New York Region, 2000 – 2001
Responsible for clinical management of managed care contract with New York State Department of Correctional Services
to provide utilization management services for the northeast and northern regions of New York State and supervision of
the 60-bed regional infirmary and hospice.
•    Migrated the utilization approval function from one of an anonymous rule-based “black box” to a collaborative
     evidence-based decision making process between the vendor and front-line clinicians.

MERCY INTERNAL MEDICINE, ALBANY, NEW YORK                                                                       1999 – 2000
Neighborhood three-physician internal medicine group practice.
Primary Care Physician, 1999 – 2000 (6 months)
Provided direct primary care to a panel of community patients during a period of staff shortage.


ALBANY COUNTY CORRECTIONAL FACILITY, ALBANY, NEW YORK                                                           1998 – 1999
Acting Facility Medical Director, 1998 – 1999
Directed the medical staff of an 800 bed jail and provided direct patient care following the sudden loss of the Medical
Director, pending hiring of a permanent replacement. Coordinated care of jail patients in local hospitals. Provided
consultation to the Superintendent on improvements to operation and staffing of medical unit and need for privatization.

VETERANS ADMINISTRATION MEDICAL CENTER, ALBANY, NY                                                              1992 – 1998
Assistant Chief, Medical Service, 1995 – 1998
Chief, Section of General Internal Medicine and Emergency Services, 1992 – 1998
Responsible for operation of the general internal medicine clinics and the Emergency Department.
•    Designed and implemented an organizational and physical plant makeover of the general medicine ambulatory care
     clinic from an episodic-care driven model with practitioners functioning independently supported by minimal nursing
     involvement, to a continuity-of-care model with integrated physician/mid-level practitioner/registered nurse/licensed
     practice nurse/practice manager teams.
•    Led the design and opening of a new Emergency Department.
•    As the VA Section Chief of Albany Medical College’s Division of General Internal Medicine, coordinated academic
     activities of the Division at the VA, including oversight of, and direct teaching in, ambulatory care and inpatient
     internal medicine rotations for medical students, residents, and fellows. Incorporated medical residents as part of the
     general internal medicine clinics. Awarded $786,000 Veterans Administration grant (“PRIME I”) over four years for
     development and operation of educational programs for medicine residents and students in allied health professions
     (management, pharmacy, social work, physician extenders) wishing to study primary care delivery.

ERIE COUNTY HEALTH DEPARTMENT, BUFFALO, NY                                                                      1988 – 1990
Director of Sexually Transmitted Diseases (STD) Services, 1989 – 1990
Staff Physician, STD Clinic, 1988 – 1989
Staff Physician, Lackawanna Community Health Center, 1988 – 1990
Provided leadership and patient care services in the evaluation and treatment of STDs. Successfully reorganized the
county’s STD services which were suffering from mismanagement and were under public scrutiny. Provided direct
patient care services in primary care clinic for underserved neighborhood.
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UNION OCCUPATIONAL HEALTH CENTER, BUFFALO, NY                                                                 1988 – 1990
Staff Physician, 1988 – 1990
Provided direct patient care for the evaluation of occupationally-related health disorders.


VETERANS ADMINISTRATION MEDICAL CENTER, BUFFALO, NY                                                           1985 – 1990
Chief Outpatient Medical Section and Primary Care Clinic, 1986 – 1988
VA Section Head, Division of General Internal Medicine, University of Buffalo, 1986 – 1988
•    Developed and implemented a major restructuring of the general medicine ambulatory care clinic to reduce
     fragmentation of care by introduction of a continuity-of-care model with a physician/nurse team approach.
Medical Director, Anticoagulation Clinic 1986 – 1990
Staff Physician, Emergency Department, 1985 – 1986

                                             FACULTY APPOINTMENTS
2020 – present    Faculty Associate, Center for Human Rights, University of Washington
2007 – present    Affiliate Assistant Professor, Department of Health Services, School of Public Health, University of
                  Washington
1999 – present    Clinical Professor, Fellowship in Applied Public Health (previously Volunteer Faculty, Preventive
                  Medicine Residency), University at Albany School of Public Health
1996 – 2002       Volunteer Faculty, Office of the Dean of Students, University at Albany
1992 – 2002       Associate Clinical/Associate/Assistant Professor of Medicine, Albany Medical College
1993 – 1997       Clinical Associate Faculty, Graduate Program in Nursing, Sage Graduate School
1990 – 1992       Instructor of Medicine, Indiana University
1985 – 1990       Clinical Assistant Professor of Medicine, University of Buffalo
1982 – 1985       Clinical Assistant Instructor of Medicine, University of Buffalo


                                        OTHER PROFESSIONAL ACTIVITIES
2016 – present    Chair, Education Committee, Academic Consortium on Criminal Justice Health
2016 – present    Washington State Institutional Review Board (“Prisoner Advocate” member)
2016 – 2017       Mortality Reduction Workgroup, American Jail Association
2013 – present    Conference Planning Committee – Medical/Mental Health Track, American Jail Association
2013 – 2016       “Health in Prisons” course, Bloomberg School of Public Health, Johns Hopkins University/International
                  Committee of the Red Cross
2013 – present    Institutional Review Board, University of Washington (“Prisoner Advocate” member),
2011 – 2012       Education Committee, National Commission on Correctional Health Care
2007 – present    National Advisory Committee, COCHS (Community–Oriented Correctional Health Services)
2004 – 2006       Fellow’s Advisory Committee, University of Washington Robert Wood Johnson Clinical Scholar
                     Program
2004              External Expert Panel to the Surgeon General on the “Call to Action on Correctional Health Care”
2003 – present    Faculty Instructor, Critical Appraisal of the Literature Course, Family Practice Residency Program,
                     Providence St. Peter Hospital, Olympia, Washington
2001 – present    Chair/Co-Chair, Education Committee, American College of Correctional Physicians
1999 – present    Critical Appraisal of the Literature Course, Preventive Medicine Residency Program, New York State
                     Department of Health/University at Albany School of Public Health
1999              Co–Chairperson, Education Subcommittee, Workshop Submission Review Committee, Annual
                    Meeting, Society of General Internal Medicine
1997 – 1998       Northeast US Representative, National Association of VA Ambulatory Managers
1996 – 2002       Faculty Mentor, Journal Club, Internal Medicine Residency Program, Albany Medical College
1996 – 2002       Faculty Advisor and Medical Control, 5 Quad Volunteer Ambulance Service, University at Albany
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1995 – 1998      Preceptor, MBA Internship, Union College
1995             Quality Assurance/Patient Satisfaction Subcommittee, VA National Curriculum Development
                   Committee for Implementation of Primary Care Practices, Veterans Administration
1994 – 1998      Residency Advisory Committee, Preventive Medicine Residency, New York State Department of
                    Health/School of Public Health, University at Albany
1993             Chairperson, Dean's Task Force on Primary Care, Albany Medical College
1993             Task Group to develop curriculum for Comprehensive Care Case Study Course for Years 1 through 4,
                    Albany Medical College
1988 – 1989      Teaching Effectiveness Program for New Housestaff, Graduate Medical Dental Education Consortium
                    of Buffalo
1987 – 1990      Human Studies Review Committee, School of Allied Health Professions, University of Buffalo
1987 – 1989      Chairman, Subcommittee on Hospital Management Issues and Member, Subcommittee on
                    Teaching of Ad Hoc Committee to Plan Incoming Residents Training Week, Graduate
                    Medical Dental Education Consortium of Buffalo
1987 – 1988      Dean's Ad Hoc Committee to Reorganize "Introduction to Clinical Medicine" Course
1987             Preceptor, Nurse Practitioner Training Program, School of Nursing, University of Buffalo
1986 – 1988      Course Coordinator, Simulation Models Section of Physical Diagnosis Course, University of Buffalo
1986 – 1988      Chairman, Service Chiefs' Continuity of Care Task Force, Veterans Administration Medical Center,
                   Buffalo, New York
1979 – 1980      Laboratory Teaching Assistant in Gross Anatomy, Université Libre de Bruxelles, Brussels, Belgium
1973 – 1975      Instructor and Instructor Trainer of First Aid, American National Red Cross
1972 – 1975      Chief of Service or Assistant Chief of Operations, 5 Quad Volunteer Ambulance Service, University at
                    Albany.
1972 – 1975      Emergency Medical Technician Instructor and Course Coordinator, New York State Department of
                   Health, Bureau of Emergency Medical Services


                                                REVIEWER/EDITOR
2019 – present   Reviewer, Criminal Justice Review
2015 – present   Reviewer, PLOS ONE
2015 – present   Founding Editorial Board Member and Reviewer, Journal for Evidence-based Practice in Correctional
                 Health, Center for Correctional Health Networks, University of Connecticut
2011 – present   Reviewer, American Journal of Public Health
2010 – 2023      International Advisory Board Member and Reviewer, International Journal of Prison Health
2010 – present   Grant reviewer, Langeloth Foundation
2001 – present   Reviewer and Editorial Board Member (2009 – present), Journal of Correctional Health Care
2010 – 2023      International Advisory Board Member and Reviewer, International Journal of Prison Health
2001 – 2004      Reviewer, Journal of General Internal Medicine
1996             Reviewer, Abstract Committee, Health Services Research Subcommittee, Annual Meeting, Society of
                 General Internal Medicine
1990 – 1992      Reviewer, Medical Care


                                                     EDUCATION
University at Albany, College of Arts and Sciences, Albany; B.S., 1975 (Biology)
University at Albany, School of Education, Albany; AMST (Albany Math and Science Teachers) Teacher Education
    Program, 1975
Université Libre de Bruxelles, Faculté de Medecine, Brussels, Belgium; Candidature en Sciences Medicales, 1980
University at Buffalo, School of Medicine, Buffalo; M.D., 1982
University at Buffalo Affiliated Hospitals, Buffalo; Residency in Internal Medicine, 1985
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Regenstrief Institute of Indiana University, and Richard L. Roudebush Veterans Administration Medical Center; VA/NIH
   Fellowship in Primary Care Medicine and Health Services Research, 1992
Indiana University, School of Health, Physical Education, and Recreation, Bloomington; M.P.H., 1992
New York Academy of Medicine, New York; Mini-fellowship Teaching Evidence-Based Medicine, 1999


                                                   CERTIFICATIONS
Provisional Teaching Certification for Biology, Chemistry, Physics, Grades 7–12, New York State Department of
    Education (expired), 1975
Diplomate, National Board of Medical Examiners, 1983
Diplomate, American Board of Internal Medicine, 1985
Fellow, American College of Physicians, 1991
License: Washington (#MD00041843, active); New York (#158327, inactive); Indiana (#01038490, inactive)
“X” Waiver (buprenorphine), Department of Health & Human Services, 2018


                                                    MEMBERSHIPS
2019 – present    Washington Association of Sheriffs and Police Chiefs
2005 – 2016       American Correctional Association/Washington Correctional Association
2000 – present    American College of Correctional Physicians


                                                    RECOGNITIONS
B. Jaye Anno Award for Excellence in Communication, National Commission on Correctional Health Care. 2019
Award of Appreciation, Washington Association of Sheriffs and Police Chiefs. 2018
Armond Start Award of Excellence, American College of Correctional Physicians. 2010
(First) Annual Preventive Medicine Faculty Excellence Award, New York State Preventive Medicine Residency
Program, University at Albany School of Public Health/New York State Department of Health. 2010
Excellence in Education Award for excellence in clinical teaching, Family Practice Residency Program, Providence St.
Peter Hospital, Olympia, Washington. 2004
Special Recognition for High Quality Workshop Presentation at Annual Meeting, Society of General Internal Medicine.
1996
Letter of Commendation, House Staff Teaching, University of Buffalo. 1986

                      WORKSHOPS, SEMINARS, PRESENTATIONS, INVITED LECTURES
It’s the 21st Century – Time to Bid Farewell to “Sick Call” and “Chronic Care Clinic”. Annual Conference, National
Commission on Correctional Health Care. Fort Lauderdale, Florida. 2019
HIV and Ethics – Navigating Medical Ethical Dilemmas in Corrections. Keynote Speech, 14th Annual HIV Care in the
Correctional Setting. AIDS Education and Training Program (AETC) Mountain West, Olympia, Washington. 2019
Honing Nursing Skills to Keep Patients Safe in Jail. Orange County Jail Special Training Session (including San
Bernardino and San Diego Jail Staffs), Theo Lacy Jail, Orange, California. 2019
What Would You Do? Navigating Medical Ethical Dilemmas. Leadership Training Academy, National Commission on
Correctional Health Care. San Diego, California. 2019
Preventing Jail Deaths. Jail Death Review and Investigations: Best Practices Training Program, American Jail
Association, Arlington, Virginia. 2018
How to Investigate Jail Deaths. Jail Death Review and Investigations: Best Practices Training Program, American Jail
Association, Arlington, Virginia. 2018
Executive Manager Program in Correctional Health. 4-day training for custody/health care teams from jails and prisons
on designing safe and efficient health care systems. National Institute for Corrections Training Facility, Aurora, Colorado,
and other venues in Washington State. Periodically. 2014 – present
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Medical Ethics in Corrections. Criminal Justice 441 – Professionalism and Ethical Issues in Criminal Justice. University
of Washington, Tacoma. Recurring seminar. 2012 – present
Medical Aspects of Deaths in ICE Custody. Briefing for U.S. Senate staffers, Human Rights Watch. Washington, D.C.
2018
Jails’ Role in Managing the Opioid Epidemic. Panelist. Washington Association of Sheriffs and Police Chiefs Annual
Conference. Spokane, Washington. 2018
Contract Prisons and Contract Health Care: What Do We Know? Behind Bars: Ethics and Human Rights in U.S. Prisons
Conference. Center for Bioethics – Harvard Medical School/Human Rights Program – Harvard Law School. Boston,
Massachusetts. 2017
Health Care Workers in Prisons. (With Dr. J. Wesley Boyd) Behind Bars: Ethics and Human Rights in U.S. Prisons
Conference. Center for Bioethics – Harvard Medical School/Human Rights Program – Harvard Law School. Boston,
Massachusetts. 2017
Prisons, Jails and Medical Ethics: Rubber, Meet Road. Grand Rounds. Touro Medical College. New York, New York.
2017
Jail Medical Doesn’t Have to Keep You Up at Night – National Standards, Risks, and Remedies. Washington Association
of Counties. SeaTac, Washington. 2017
Prison and Jail Health Care: What do you need to know? Grand Rounds. Providence/St. Peters Medical Center. Olympia,
Washington. 2017
Prison Health Leadership Conference. 2-Day workshop. International Corrections and Prisons Association/African
Correctional Services Association/Namibian Corrections Service. Omaruru, Namibia. 2016; 2018
What Would YOU Do? Navigating Medical Ethical Dilemmas. Spring Conference. National Commission on Correctional
Health Care. Nashville, Tennessee. 2016
Improving Patient Safety. Spring Provider Meeting. Oregon Department of Corrections. Salem, Oregon 2016
A View from the Inside: The Challenges and Opportunities Conducting Cardiovascular Research in Jails and Prisons.
Workshop on Cardiovascular Diseases in the Inmate and Released Prison Population. The National Heart, Lung, and
Blood Institute. Bethesda, Maryland. 2016
Why it Matters: Advocacy and Policies to Support Health Communities after Incarceration. At the Nexus of Correctional
Health and Public Health: Policies and Practice session. Panelist. American Public Health Association Annual Meeting.
Chicago, Illinois. 2015
Hot Topics in Correctional Health Care. Presented with Dr. Donald Kern. American Jail Association Annual Meeting.
Charlotte, North Carolina. 2015
Turning Sick Call Upside Down. Annual Conference. National Commission on Correctional Health Care. Dallas, Texas,
2015.
Diagnostic Maneuvers You May Have Missed in Nursing School. Annual Conference. National Commission on
Correctional Health Care. Dallas, Texas. 2015
The Challenges of Hunger Strikes: What Should We Do? What Shouldn’t We Do? Annual Conference. National
Commission on Correctional Health Care. Dallas, Texas. 2015
Practical and Ethical Approaches to Managing Hunger Strikes. Annual Practitioners’ Conference. Washington
Department of Corrections. Tacoma, Washington. 2015
Contracting for Health Services: Should I, and if so, how? American Jail Association Annual Meeting. Dallas, Texas.
2014
Hunger Strikes: What should the Society of Correctional Physician’s position be? With Allen S, May J, Ritter S.
American College of Correctional Physicians (Formerly Society of Correctional Physicians) Annual Meeting. Nashville,
Tennessee. 2013
Addressing Conflict between Medical and Security: an Ethics Perspective. International Corrections and Prison
Association Annual Meeting. Colorado Springs, Colorado. 2013
Patient Safety and ‘Right Using’ Nurses. Keynote address. Annual Conference. American Correctional Health Services
Association. Philadelphia, Pennsylvania. 2013
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Patient Safety: Overuse, underuse, and misuse…of nurses. Keynote address. Essentials of Correctional Health Care
conference. Salt Lake City, Utah. 2012
The ethics of providing healthcare to prisoners-An International Perspective. Global Health Seminar Series. Department
of Global Health, University of Washington, Seattle, Washington. 2012
Recovery, Not Recidivism: Strategies for Helping People Who are Incarcerated. Panelist. NAMI Annual Meeting, Seattle,
Washington, 2012
Ethics and HIV Workshop. HIV/AIDS Care in the Correctional Setting Conference, Northwest AIDS Education and
Training Center. Salem, Oregon. 2011
Ethics and HIV Workshop. HIV/AIDS Care in the Correctional Setting Conference, Northwest AIDS Education and
Training Center. Spokane, Washington. 2011
Patient Safety: Raising the Bar in Correctional Health Care. With Dr. Sharen Barboza. National Commission on
Correctional Health Care Mid-Year Meeting, Nashville, Tennessee. 2010
Patient Safety: Raising the Bar in Correctional Health Care. American Correctional Health Services Association, Annual
Meeting, Portland, Oregon. 2010
Achieving Quality Care in a Tough Economy. National Commission on Correctional Health Care Mid-Year Meeting,
Nashville, Tennessee, 2010 (Co-presented with Rick Morse and Helena Kim, PharmD.)
Involuntary Psychotropic Administration: The Harper Solution. With Dr. Bruce Gage. American Correctional Health
Services Association, Annual Meeting, Portland, Oregon. 2010
Evidence Based Decision Making for Non-Clinical Correctional Administrators. American Correctional Association 139th
Congress, Nashville, Tennessee. 2009
Death Penalty Debate. Panelist. Seattle University School of Law, Seattle, Washington. 2009
The Patient Handoff – From Custody to the Community. Washington Free Clinic Association, Annual Meeting, Olympia,
Washington. Lacey, Washington. 2009
Balancing Patient Advocacy with Fiscal Restraint and Patient Litigation. National Commission on Correctional Health
Care and American College of Correctional Physicians “Medical Directors Boot Camp,” Seattle, Washington. 2009
Staff Management. National Commission on Correctional Health Care and American College of Correctional Physicians
“Medical Directors Boot Camp,” Seattle, Washington. 2009
Management Dilemmas in Corrections: Boots and Bottom Bunks. Annual Meeting, American College of Correctional
Physicians, Chicago, Illinois. 2008
Public Health and Correctional Health Care. Masters Program in community–based population focused management –
Populations at risk, Washington State University, Spokane, Washington. 2008
Managing the Geriatric Population. Panelist. State Medical Directors’ Meeting, American Corrections Association,
Alexandria, Virginia. 2007
I Want to do my own Skin Biopsies. Annual Meeting, American College of Correctional Physicians, New Orleans,
Louisiana. 2005
Corrections Quick Topics. Annual Meeting, American College of Correctional Physicians. Austin, Texas. 2003
Evidence Based Medicine in Correctional Health Care. Annual Meeting, National Commission on Correctional Health
Care. Austin, Texas. 2003
Evidence Based Medicine. Excellence at Work Conference, Empire State Advantage. Albany, New York. 2002
Evidence Based Medicine, Outcomes Research, and Health Care Organizations. National Clinical Advisory Group,
Integrail, Inc., Albany, New York. 2002
Evidence Based Medicine. With Dr. LK Hohmann. The Empire State Advantage, Annual Excellence at Work Conference:
Leading and Managing for Organizational Excellence, Albany, New York. 2002
Taking the Mystery out of Evidence Based Medicine: Providing Useful Answers for Clinicians and Patients. Breakfast
Series, Institute for the Advancement of Health Care Management, School of Business, University at Albany, Albany,
New York. 2001
Diagnosis and Management of Male Erectile Dysfunction – A Goal–Oriented Approach. Society of General Internal
Medicine National Meeting, San Francisco, California. 1999
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Study Design and Critical Appraisal of the Literature. Graduate Medical Education Lecture Series for all housestaff,
Albany Medical College, Albany, New York. 1999
Male Impotence: Its Diagnosis and Treatment in the Era of Sildenafil. 4th Annual CME Day, Alumni Association of the
Albany–Hudson Valley Physician Assistant Program, Albany, New York. 1998
Models For Measuring Physician Productivity. Panelist. National Association of VA Ambulatory Managers National
Meeting, Memphis, Tennessee. 1997
Introduction to Male Erectile Dysfunction and the Role of Sildenafil in Treatment. Northeast Regional Meeting Pfizer
Sales Representatives, Manchester Center, Vermont. 1997
Male Erectile Dysfunction. Topics in Urology, A Seminar for Primary Healthcare Providers, Bassett Healthcare,
Cooperstown, New York. 1997
Evaluation and Treatment of the Patient with Impotence: A Practical Primer for General Internists. Society of General
Internal Medicine National Meeting, Washington D.C. 1996
Impotence: An Update. Department of Medicine Grand Rounds, Albany Medical College, Albany, New York. 1996
Diabetes for the EMT First–Responder. Five Quad Volunteer Ambulance, University at Albany. Albany, New York.
1996
Impotence: An Approach for Internists. Medicine Grand Rounds, St. Mary's Hospital, Rochester, New York. 1994
Male Impotence. Common Problems in Primary Care Precourse. American College of Physicians National Meeting,
Miami, Florida. 1994
Patient Motivation: A Key to Success. Tuberculosis and HIV: A Time for Teamwork. AIDS Program, Bureau of
Tuberculosis Control – New York State Department of Health and Albany Medical College, Albany, New York. 1994
Recognizing and Treating Impotence. Department of Medicine Grand Rounds, Albany Medical College, Albany, New
York. 1992
Medical Decision Making: A Primer on Decision Analysis. Faculty Research Seminar, Department of Family Practice,
Indiana University, Indianapolis, Indiana. 1992
Effective Presentation of Public Health Data. Bureau of Communicable Diseases, Indiana State Board of Health,
Indianapolis, Indiana. 1991
Impotence: An Approach for Internists. Housestaff Conference, Department of Medicine, Indiana University,
Indianapolis, Indiana. 1991
Using Electronic Databases to Search the Medical Literature. NIH/VA Fellows Program, Indiana University,
Indianapolis, Indiana. 1991
Study Designs Used in Epidemiology. Ambulatory Care Block Rotation. Department of Medicine, Indiana University,
Indianapolis, Indiana. 1991
Effective Use of Slides in a Short Scientific Presentation. Housestaff Conference, Department of Medicine, Indiana
University, Indianapolis, Indiana. 1991
Impotence: A Rational and Practical Approach to Diagnosis and Treatment for the General Internist. Society of General
Internal Medicine National Meeting, Washington D.C. 1991
Nirvana and Audio–Visual Aids. With Dr. RM Lubitz. Society of General Internal Medicine, Midwest Regional Meeting,
Chicago. 1991
New Perspectives in the Management of Hypercholesterolemia. Medical Staff, West Seneca Developmental Center, West
Seneca, New York. 1989
Effective Use of Audio–Visual Aids. Nurse Educators, American Diabetes Association, Western New York Chapter,
Buffalo, New York. 1989
Management of Diabetics in the Custodial Care Setting. Medical Staff, West Seneca Developmental Center, West
Seneca, New York, 1989
Effective Use of Audio–Visuals in Diabetes Peer and Patient Education. American Association of Diabetic Educators,
Western New York Chapter, Buffalo, New York. 1989
Pathophysiology, Diagnosis and Care of Diabetes. Nurse Practitioner Training Program, School of Nursing, University of
Buffalo, Buffalo, New York. 1989
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Techniques of Large Group Presentations to Medical Audiences – Use of Audio–Visuals. New Housestaff Training
Program, Graduate Medical Dental Education Consortium of Buffalo, Buffalo, New York. 1988

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people in eight high-income and middle-income countries: an individual participant data meta-analysis. Lancet 2024 Apr
10:S0140-6736(24)00344-1
Stern M, Piasecki AM, Strick LB, Rajeshwar P, Tyagi E, Dolovich S, Patel PR, Fukunaga L, Furukawa NW. Willingness
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— Four States, September–December 2020. Mortality and Morbidity Weekly Report. US Department of Health and
Human Services/Centers for Disease Control and Prevention April 2, 2021 70(13):473-476
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The Mortality After Release from Incarceration Consortium (MARIC): Protocol for a multi-national, individual
participant data meta-analysis. Int. J of Population Data Science 2019 5(1):6
Binswanger IA, Maruschak LM, Mueller SR, Stern MF, Kinner SA. Principles to Guide National Data Collection on the
Health of Persons in the Criminal Justice System. Public Health Reports 2019 134(1):34S-45S
Stern M. Hunger Strike: The Inside Medicine Scoop. American Jails 2018 32(4):17-21
Grande L, Stern M. Providing Medication to Treat Opioid Use Disorder in Washington State Jails. Study conducted for
Washington State Department of Social and Health Services under Contract 1731-18409. 2018.
Stern MF, Newlin N. Epicenter of the Epidemic: Opioids and Jails. American Jails 2018 32(2):16-18
Stern MF. A nurse is a nurse is a nurse…NOT! Guest Editorial, American Jails 2018 32(2):4,68
Wang EA, Redmond N, Dennison Himmelfarb CR, Pettit B, Stern M, Chen J, Shero S, Iturriaga E, Sorlie P, Diez Roux
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Mitchell A, Reichberg T, Randall J, Aziz-Bose R, Ferguson W, Stern M. Criminal Justice Health Digital Curriculum.
Poster, Annual Academic and Health Policy Conference on Correctional Health, Atlanta, Georgia, March, 2017
Stern MF. Patient Safety (White Paper). Guidelines, Management Tools, White Papers, National Commission on
Correctional Health Care. http://www.ncchc.org/filebin/Resources/Patient-Safety-2016.pdf. June, 2016
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Important Band-Aid. Guest Editorial. Journal of Correctional Health Care 2014 Apr; 20(2):92-94
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of Death, Risk Factors, and Time Trends From 1999 to 2009. Annals of Internal Medicine 2013 Nov; 159(9):592-600
Williams B, Stern MF, Mellow J, Safer M, Greifinger RB. Aging in Correctional Custody: Setting a policy agenda for
older prisoner health care. American Journal of Public Health 2012 Aug; 102(8):1475-1481
Binswanger I, Blatchford PJ, Yamashita TE, Stern MF. Drug-Related Risk Factors for Death after Release from Prison:
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Conference on Correctional Healthcare, Boston, Massachusetts, March, 2011
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Binswanger I, Lindsay R, Stern MF, Blatchford P. Risk Factors for All-Cause, Overdose and Early Deaths after Release
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Stern MF, Greifinger RB, Mellow J. Patient Safety: Moving the Bar in Prison Health Care Standards. American Journal
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State Department of Corrections. Poster Presentation, National Commission on Correctional Health Care Annual
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Risk of Death for Former Inmates. New England Journal of Medicine 2007 Jan 11;356(2):157–165
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Massachusetts, October, 1999. Int J Impot Res. 1999;10(S1):S65]
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Patient Education Resource Manual, Supplement. Aspen Reference Group, Eds. Aspen Publishers, Inc., 1998]
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Presentation, American Public Health Association Annual Meeting, Atlanta, November 1990
